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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

 

 

 

 

Case No. LACV21-08874 JAK (KSx) Date 11/9/2022
Title BackGrid USA, Inc. v. Audacy, Inc. et al.
Present: The Honorable JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE
T. Jackson Not Reported
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Not Present Not Present
Proceedings: (IN CHAMBERS) ORDER RE JOINT REPORT RE JURISDICTIONAL
DISCOVERY (DKT. 34) AND DEFENDANTS’ MOTION TO DISMISS (DKT.
20)

Based on a review of the parties’ Joint Report re Jurisdictional Discovery (the “Report” (Dkt. 34)) and
the briefing on Defendant's Motion to Dismiss (the “Motion” (Dkt. 20)), it is determined that party and
judicial efficiency will be served by having the parties proceed with certain limited, jurisdictional
discovery. The purpose and scope of this discovery is limited to seeking to determine the following: (1)
what person(s) were involved in making and uploading the posts at issue; and (2) whether the posts
were purposefully directed at California. This scope of discovery is consistent with the following topics
stated in the Report by Plaintiff and Defendant respectively:

|. Web traffic of each the social media websites.

m. Audacy’s targeting of California residents through, inter alia, promotions, contests,
mailing lists, advertisements.

n. Audacy’s targeting of California clients and potential advertisers

Dkt. 34 at 6 (proposed by Plaintiff)

a. The person who created each of the posts at issue

b. The physical location where that person is employed.

c. That person’s employer

d. Documents sufficient to show the lack of employees of Audacy, Inc.

Id. (proposed by Defendant).
The present, jurisdictional discovery will not include issues as to alter ego or implied agency.

The parties shall complete this initial limited discovery within 30 days of the issuance of this Order.
Within 10 days of the completion of discovery, Plaintiff shall file a supplemental brief, not to exceed ten
pages, as to the jurisdictional issues presented in the Motion. Should Plaintiff contend that, based on
the outcome of the initial discovery, any additional discovery is necessary on the jurisdictional issues,

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No, LA CV21-08874 JAK (KSx) Date 11/19/2022
Title BackGrid USA, Inc. v. Audacy, Inc. et al.

 

the brief shall describe the proposed discovery with particularity, and provide a time estimate for
completing it. Defendant shall file any reply, not to exceed ten pages, within seven days after Plaintiffs
brief was filed. Upon the filing of this briefing, if Plaintiff has proposed any additional jurisdictional
discovery, a determination will be made as to whether it will be permitted. If it is, an order will be issued
as to its scope, as well as a schedule for its completion and for the filing of any further, supplemental
briefing. If such discovery is not requested or if it is not permitted in the aforementioned order, the
Motion will be taken under submission.

IT IS SO ORDERED.

 

Initials of Preparer tj

 

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